     Case 2:23-cv-10169-SPG-ADS     Document 22     Filed 02/08/24   Page 1 of 2 Page ID
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8                          UNITED STATES DISTRICT COURT
9                        CENTRAL DISTRICT OF CALIFORNIA
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11   CALIFORNIA RIFLE & PISTOL                    Case No. 2:23-cv-10169-SPG (ADSx)
     ASSOCIATION, INCORPORATED; THE
12   SECOND AMENDMENT                             ORDER EXTENDING PAGE LIMIT
13   FOUNDATION; GUN OWNERS OF                    OF PLAINTIFFS’ REPLY BRIEF
     AMERICA, INC.; GUN OWNERS
14   FOUNDATION; GUN OWNERS OF
     CALIFORNIA, INC.; ERICK
15   VELASQUEZ, an individual; CHARLES
     MESSEL, an individual; BRIAN
16   WEIMER, an individual; CLARENCE
     RIGALI, an individual; KEITH REEVES,
17   an individual, CYNTHIA GABALDON,
     an individual; and STEPHEN HOOVER,
18   an individual,
19                    Plaintiffs,
20               v.
21   LOS ANGELES COUNTY SHERIFF’S
22   DEPARTMENT; SHERIFF ROBERT
     LUNA, in his official capacity; LA
23   VERNE POLICE DEPARTMENT; LA
     VERNE CHIEF OF POLICE COLLEEN
24   FLORES, in her official capacity;
     ROBERT BONTA, in his official capacity
25   as Attorney General of the State of
     California and DOES 1-10,
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                      Defendants.
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     Case 2:23-cv-10169-SPG-ADS       Document 22       Filed 02/08/24   Page 2 of 2 Page ID
                                           #:253



1          Plaintiffs California Rifle & Pistol Association, Incorporated, The Second
2    Amendment Foundation, Gun Owners of America, Inc., Gun Owners Foundation, Gun
3    Owners of California, Inc., Erick Velasquez, Charles Messel, Brian Weimer, Clarence
4    Rigali, Keith Reeves, Cynthia Gabaldon, and Stephen Hoover; Defendant Robert Bonta, in
5    his official capacity as Attorney General of the State of California; Defendants Los Angeles
6    County Sheriff’s Department and Sheriff Robert Luna, in his official capacity; and
7    Defendants La Verne Police Department and La Verne Chief of Police Colleen Flores, in
8    her official capacity (the “Parties”) have stipulated and request to allow Plaintiffs up to 30
9    pages for their reply brief on their filed motion for preliminary injunction. (ECF No. 20).
10         After full consideration, and good cause appearing, the Parties’ request is
11   GRANTED. Plaintiffs’ reply brief shall be no longer than 30 pages.
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13         IT IS SO ORDERED.
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15   Dated: February 8, 2024
                                                  HON. SHERILYN PEACE GARNETT
16                                                UNITED STATES DISTRICT JUDGE
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